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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TRACI BERARDELLI and                                    :
JOSEPH BERARDELLI, on behalf                            :
of their daughter M.B. , a minor                        :
Individually on their own behalf                        :
                                                        :
                   Plaintiffs,                          :
                                                        :
v.                                                      :
                                                        :
ALLIED SERVICES INSTITUTE                               :
OF REHABILITATION MEDICINE :
                                                        :
                   Defendant                            :                  No.: 3:14-CV-0691
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

      MOTION FOR SUMMARY JUDGMENT OF THE DEFENDANT
    ALLIED SERVICES INSTITUTE OF REHABILITATION MEDICINE

         The Defendant, Allied Services Institute of Rehabilitation Medicine, by and

through counsel, Abrahamsen, Conaboy & Abrahamsen, P.C., hereby move for

summary judgment pursuant to Federal Rule of Civil Procedure 56, for the reasons

more fully set forth in Defendant’s Brief in Support of this Motion, which will be

filed pursuant to the local rules.

         Counsel for the Defendant has discussed the filing of this Motion with counsel

for the Plaintiffs, who has indicated that the Plaintiffs do not concur in the relief

requested. A Certificate of Non-Concurrence is attached hereto.
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      WHEREFORE, Defendant, Allied Services Institute of Rehabilitation

Medicine, respectfully requests the entry of an Order dismissing Plaintiffs’ Complaint

in its entirety with prejudice.

                                       Respectfully Submitted,

                                       Abrahamsen, Conaboy & Abrahamsen, P.C.

                                       /s/ James J. Conaboy
                                       James J. Conaboy, Esquire
                                       Attorney ID No. 77987

                                       1006 Pittston Avenue
                                       Scranton, PA 18505
                                       jconaboy@law-aca.com
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                       CERTIFICATE OF SERVICE

     I, James J. Conaboy, Esquire, hereby certify that I have this   15th   day of

June, 2015 served a true and correct copy of the foregoing “MOTION FOR

SUMMARY JUDGMENT OF THE DEFENDANT ALLIED SERVICES

INSTITUTE OF REHABILITATION MEDICINE” upon the following listed below,

via ECF.



Nicole Reimann, Esquire
Schnader, Harrison Segal & Lewis, LLP
1600 Market Street, Suite 3600
Philadelphia, PA 19103



                                           /s/ James J. Conaboy
                                           James J. Conaboy, Esquire
